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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


Doğukan Günaydın,                                      File No. 25-CV-01151 (JMB/DLM)

              Petitioner,

v.
                                                                   ORDER
Donald J. Trump, in his official capacity as
President of the United States; Joel Brott, in
his official capacity as the Sherburne county
Sheriff; Peter Berg, in his official capacity as
the St. Paul Field Office Director for U.S.
Immigration and Customs Enforcement;
Jamie Holt, in her official capacity as
Homeland Security Investigations St. Paul
Special Agent in Charge, U.S. Immigration
and Customs Enforcement; Todd Lyons, in
his official capacity as Acting Director, U.S.
Immigration and Customs Enforcement;
Kristi Noem, in her official capacity as
Secretary of the United States Department of
Homeland Security; and Marco Rubio, in his
official capacity as Secretary of State,

              Respondents.


Hannah Brown, HB Law and Advocacy, Wayzata, MN, for Petitioner Doğukan Günaydın.

Friedrich A. P. Siekert and Ana H. Voss, United States Attorney’s Office, Minneapolis,
MN, for Respondents Donald J. Trump, Joel Brott, Peter Berg, Jamie Holt, Todd Lyons,
Kristi Noem, and Marco Rubio.


       This matter is before the Court on Petitioner Doğukan Günaydın’s Amended

Petition for Writ of Habeas Corpus against Respondents. (Doc. No. 18.) Because

Günaydın has not sought expedited injunctive relief; because the Department of Homeland


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Security (DHS) has appealed to the BIA the immigration judge’s (IJ) April 14, 2025 order

that was issued pursuant to Matter of Joseph, 22 I&N Dec. 799 (BIA 1999) and in which

the IJ concluded that DHS was substantially unlikely to establish its charge of removability

under INA § 237 (a)(4)(A)(ii) and ordered Günaydın released on bond (Doc. Nos. 22-1.

22-2, 22-3); and because DHS has asked for a continuance in the immigration court

proceedings to revisit its charging decisions (Doc. No. 22-6), IT IS HEREBY ORDERED

THAT:

       1.     Good cause exists to delay any hearing on Günaydın’s Amended Petition
              under 28 U.S.C. § 2243 or any adjudication of the Amended Petition.

       2.     The parties shall keep the Court apprised of the status of Günaydın’s
              immigration court proceedings via declarations or letters filed on ECF, which
              shall inform the Court of relevant hearing dates, arguments or evidence
              presented at such hearings, changes in Günaydın’s detention status, and any
              other relevant developments. Respondents shall provide the Court with
              copies of any and all written orders and submit audio files of all immigration
              court proceedings within twenty-four hours of any such hearing.

       3.     In light of the fluid circumstances and in light of Günaydın’s continued
              detention pursuant to 8 C.F.R. § 1003.19(i)(2), nothing in this Order prevents
              any party from seeking injunctive relief under Federal Rule of Civil
              Procedure 65 or from amending their pleadings and requests for relief.



Dated: April 17, 2025                                   /s/ Jeffrey M. Bryan
                                                        Judge Jeffrey M. Bryan
                                                        United States District Court




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